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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

UNITED STATES OF AMERICA

v.                                     4:07-CR-00086-24-JMM

CECIL WILLIAMS

                                              ORDER

       Pending are Defendant’s Motions to Reduce Sentence Under 18 U.S.C. § 3582 (Doc.

Nos. 815, 886, and 895), based on the retroactive application of the United States Sentencing

Commission’s crack cocaine penalty guideline reduction (Amendment 750).

       Not every person sentenced for a crack cocaine offense is eligible for a sentence

reduction.1 Only those persons currently serving a sentence determined or affected by a

sentencing range calculated using the drug quantity table, U.S.S.C. § 2D1.1, are potentially

eligible. If a defendant is not serving a sentence based on the drug quantity table, there is no

basis for the Court to exercise its discretion to grant a sentence reduction.2

       According to the plea agreement, the parties stipulated that Defendant was responsible

for between 3 and 4 grams of crack cocaine, which established a base offense level of 20.3 They

also agreed to a 2-level enhancement for having a gun and a 3-level reduction for acceptance.

These stipulations resulted in a Guidelines range of 63-78 months.4


       1
        See U.S.S.G. § 1B1.10, Reduction in Term of Imprisonment as a Result of Amended
Guideline Range (Policy Statement).
       2
        U.S.S.G. § 1B1.10(a)(1).
       3
       Doc. No. 321. The plea agreement noted that the base offense level was 22, but
Amendment 706, which was adopted between the time Defendant pled guilty and was sentenced,
lowered the base offense level to 20.
       4
        Defendant was a criminal history category VI.

                                                  1
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       On February 1, 2008, Defendant was sentenced to 84 months in prison.5 Although his

Guidelines range was 63-78 months,6 Defendant’s sentence was based on an agreement with

both federal and state prosecutors. Defendant’s counsel noted that the state prosecutor would

agree to dismiss the state charges if Defendant served 84 months in federal prison. I asked

counsel if he wanted me to give Defendant 84 months in order to comply with the deal made

with the state prosecutor, he said yes. In his motion, Defendant concedes that the 84-month

sentence was based on his agreement with state prosecutors.7

       Since Defendant’s 84-month sentence was based on an agreement with federal and state

prosecutors and not based on the Guidelines range, Defendant is not eligible for a reduction

under Amendment 750. Accordingly, Defendant’s Motions to Reduce Sentence Under 18

U.S.C. § 3582 (Doc. Nos. 815, 886, and 895) are DENIED.

       IT IS SO ORDERED this 19th day of January, 2012.



                                             __________________________________
                                             UNITED STATES DISTRICT JUDGE




       5
        Doc. Nos. 390, 391.
       6
        His base offense level was 20. With a 2-point enhancement for a gun and a 3-point
reduction for acceptance, the total offense level was 19. Defendant’s criminal history category
was VI.
       7
        Doc. No. 895.

                                                2
